09-12159-hcm Doc#222 Filed 06/15/17 Entered 06/15/17 15:54:03 Main Document Pg 1 of
                                        3



                          UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF TEXAS
                                    Austin Division

  In re:                                          §      Case No. 09-12159-HCM-7
                                                  §
  STAR OF TEXAS ENERGY SERVICES,                  §      Chapter 7
    INC.
                                                  §
                                                  §
                                                  §
                           Debtor                 §

                      DEPOSIT OF SMALL OR UNCLAIMED DIVIDENDS

             The undersigned trustee reports: ____
   ____      The dividend(s) payable to the creditor(s) listed on Exhibit “A” hereto is(are) in an
             amount less than the amount specified in Bankruptcy Rule 3010.

   _X_       More than ninety (90) days have passed since the final distribution, and the
             dividend(s) payable to the creditor(s) listed on Exhibit “A” hereto remain unclaimed.


         Therefore, pursuant to Bankruptcy 3010 or 3011, as applicable, and 11 U.S.C. 347(a), the
  undersigned trustee remits herewith his/her check(s) in the total amount shown on said Exhibit
  “A” for deposit into the United States Treasury, pursuant to Chapter 129 of Title 28 (28 U.S.C.
  2041, et seq).

  Dated:   06/15/17                              /s/ C. Daniel Roberts, Trustee
                                                C. DANIEL ROBERTS, Trustee
                                                CHAPTER 7 TRUSTEE
                                                1602 EAST CESAR CHAVEZ
                                                AUSTIN, TX 78702
                                                (512) 494-8448
09-12159-hcm Doc#222 Filed 06/15/17 Entered 06/15/17 15:54:03 Main Document Pg 2 of
                                        3
                                                                         TX-10
                                                                    (Rev’d 1/92)
                                   EXHIBIT “A”

     PLEASE CHECK ONE:
     ____   Small Dividends
     __X__ Unclaimed Dividends



     Name and Address                            Claim No.     Amount
     PATHFINDER ENERGY SERVICES                  000075A       $5,963.68
     C/O R. KELLY DONALDSON
     10077 GROGAN’S MILL, #500
     The WOODLANDS, TX 77380

     DIAMONDBACK-TOTAL TEXAS, LLC d/b/a          000088        $2,880.90
     TOTAL TEXAS OILFIELD
     ATTN: ANDREW SCHROEDER
     100 EAST CALIFORNIA, STE 200
     OKLAHOMA CITY, OK 73104

     GRR ROUSTABOUTS LLC                         000036B      $16,706.95
     PO BOX 51337
     DENTON, TX, 76206

     DIAMONDBACK – TOTAL TX, LLC                 000087        $3,564.74
     d/b/a TOTAL OILFILED
     ATTN: ANDREW SCHROEDER
     100 EAST CALIFORNIA, STE 200
     OKLAHOMA CITY, OK 73104

     GRR ROUSTABOUTS LLC                         000036A          $32.59
     PO BOX 51337
     DENTON, TX, 76206

     PATHFINDER ENERGY SERVICES                  000075B          $90.91
     C/O R. KELLY DONALDSON
     10077 GROGAN’S MILL, #500
     The WOODLANDS, TX 77380

     JAMES WAYLAND PATTON                         0000009        $787.62
     1120 ERIN LANE
     NASHVILLE, TN 37221
09-12159-hcm Doc#222 Filed 06/15/17 Entered 06/15/17 15:54:03 Main Document Pg 3 of
                                        3
                                                                         TX-10
                                                                    (Rev’d 1/92)


     LIBERTY PRESSURE PUMPING, LP                000038           $220.98
     ATTN: KD PASSON
     PO BOX 676887
     DALLAS, TX 75267

     GP OILFIELD SERVICES, LTD.                  000041           $429.47
     14504 FM 730N
     AZLE, TX 76020

     FRAC TECH SERVICES, LTD.                    000044         $22,744.37
     C\O WILLIAM A. HICKS
     PO BOX 1587
     CISCO, TX 76437
